           Case 2:08-cr-00294-WBS Document 37 Filed 08/05/08 Page 1 of 3


 1   McGREGOR W. SCOTT
     United States Attorney
 2   RUSSELL L. CARLBERG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2748
 5
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     CR. No. S-08-294-EJG
                                     )
12                  Plaintiff,       )     STIPULATION AND ROTECTIVE ORDER
                                     )     RE: DISSEMINATION OF DISCOVERY
13        v.                         )     DOCUMENTS CONTAINING NAMES AND
                                     )     PERSONAL IDENTIFYING INFORMATION
14   ROBERT MARTINSON,               )
     SHERYL HAYDEN,                  )
15   KATHLEEN DELAPP,                )
     MELISSA VILLEGAS, and           )
16   RICK VILLEGAS,                  )
                                     )
17                  Defendants.      )
     _______________________________ )
18
19        IT IS HEREBY STIPULATED AND AGREED among the parties and their
20   respective counsel, Russell L. Carlberg, Assistant U.S. Attorney,
21   representing plaintiff United States of America, and Christopher H.
22   Wing, attorney for defendant Robert Martinson, James R. Greiner,
23   attorney for defendant Sheryl Hayden, William Portanova, attorney
24   for defendant Kathleen Delapp, Bruce Locke, attorney for defendant
25   Melissa Villegas, and Timothy Warriner, attorney for defendant Rick
26   Villegas, that the documents provided as discovery in this case to
27   defense counsel which contain names and personal identification
28   information such as addresses, telephone numbers, social security

                                          1
           Case 2:08-cr-00294-WBS Document 37 Filed 08/05/08 Page 2 of 3


 1   numbers, and bank account numbers of individuals other than the
 2   defendants are subject to a Protective Order and that by signing
 3   this Stipulation and Protective Order counsel agrees not to share
 4   any such documents that contain personal identification information
 5
     with anyone other than defense counsel and his/her designated
 6
     defense investigators and support staff.       Any pages of discovery
 7
     that contain no personal identification information, or contain
 8
     only victim names, but no additional personal identifying
 9
10   information, are not subject to this order.

11      Defense counsel may permit the defendants to view the documents

12   in the presence of his or her attorney or defense investigators, so
13   long as defense counsel and the defense investigators do not allow
14
     the defendant to copy the personal identification information
15
     contained in the discovery, and defense counsel and the defense
16
     investigators do not allow the defendant to retain copies of these
17
     records.
18
19      In the event that a defendant substitutes counsel, undersigned

20   defense counsel each agree to withhold these documents from new

21   counsel unless and until substituted counsel agrees also to be
22   bound by this order.
23
     DATE: July 28, 2008             /s/ Christopher H. Wing
24                                  CHRISTOPHER H. WING
                                    Attorney for ROBERT MARTINSON
25
26
     DATE: July 28, 2008             /s/ James R. Greiner
27                                  JAMES R. GREINER
28                                  Attorney for SHERYL HAYDEN

                                          2
           Case 2:08-cr-00294-WBS Document 37 Filed 08/05/08 Page 3 of 3


 1   DATE: July 28, 2008             /s/ William Portanova
                                    WILLIAM PORTANOVA
 2                                  Attorney for KATHLEEN DELAPP
 3
 4   DATE: July 28, 2008             /s/ Bruce Locke
                                    BRUCE LOCKE
 5                                  Attorney for MELISSA VILLEGAS
 6
 7   DATE: July 28, 2008             /s/ Timothy Warriner
 8                                  TIMOTHY WARRINER
                                    Attorney for RICK VILLEGAS
 9
10   DATE: July 28, 2008            McGREGOR W. SCOTT
                                    United States Attorney
11
12
                              By:    /s/ Russell L. Carlberg
13                                  RUSSELL L. CARLBERG
                                    Assistant U.S. Attorney
14
15      IT IS SO ORDERED:
16
     DATED: August 4, 2008           /s/ Edward J. Garcia
17                                  EDWARD J. GARCIA
                                    U.S. District Judge
18
19
20
21
22
23
24
25
26
27
28

                                          3
